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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA




LAWYERS’ COMMITTEE FOR CIVIL
RIGHTS UNDER LAW,                                    Civil Action No. 1:17-cv-1354 (CKK)

      Plaintiff,

v.

PRESIDENTIAL ADVISORY
COMMISSION ON ELECTION
INTEGRITY; et al.,

      Defendants.



                          NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Lawyers’ Committee for Civil Rights

Under Law, by and through counsel, hereby voluntarily dismiss, without prejudice, all claims

made in their complaint against Defendants. In support of this motion, Plaintiff notes the

following:

       1. Dismissal without prejudice under Rule 41(a) is appropriate because Defendants have

not filed an answer or motion for summary judgment.

       2. Plaintiffs have achieved much of the relief sought in the Complaint, including:

              a. On August 30, 2017, the Department of Justice formally apologized for the

Commissions’ failure to release documents before its first meeting in accordance with FACA

and for its lack of candor with the Court.
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               b. Most of the documents identified in Defendants’ September 29, 2017 Vaughn

Index, ECF No. 33, have been released to the public by former Commissioner Matthew Dunlap.

https://www.americanoversight.org/document/pacei-records-released-to-maine-secretary-of-

state-dunlap

               c. The documents released demonstrate disturbing plans of the Commission to

lay the groundwork for voter suppression efforts, based on fraudulent claims of voter fraud.

               d. On January 3, 2018, fearful that the true aims and work of the Commission

would become known to the public due to the instant lawsuit and the parallel Dunlap lawsuit,

the President choice to disband the Commission.

       3. In July 2018, counsel for Defendants asked Plaintiff whether it would consent to

indefinitely staying this lawsuit pending developments in the separate lawsuit filed by former

commissioner Matthew Dunlap. Plaintiffs responded that it would consent to a 30-day extension

of Defendants’ motion to dismiss, during which time Plaintiff would evaluate the developments

in the Dunlap lawsuit to decide whether to proceed with this suit.

       4. Defendants never followed up with Plaintiff, but instead proceeded to follow its

motion to dismiss on August 29, 2018. Had Defendants inquired with Plaintiff, Plaintiff would

have notified Defendants of its intent to dismiss this lawsuit given the intervening developments

in the Dunlap suit.

       5. While Plaintiff continues to believe that the Vaughn-type index provided by

Defendants was deficient and missing pertinent records, given the ongoing Dunlap litigation and

materials have been produced date, Plaintiff has decided to dismiss this suit in the interest of

judicial economy.


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For the foregoing reasons, this matter should be dismissed without prejudice.

Dated: September 7, 2018                            Respectfully submitted,


                                                    /s/ John A. Freedman
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